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                             United States District Court
                                       for the
                             Southern District of Florida

   TRG Oasis (Tower One), Ltd. and        )
   others, Plaintiffs,                    )
                                          )
   v.                                     ) Civil Action No. 22-21346-Civ-Scola
                                          )
   Crum & Forster Specialty               )
   Insurance Company, Defendant.          )
                                 Order of Dismissal
        The parties have dismissed this suit with prejudice in accordance with
  Federal Rule of Civil Procedure 41(a)(1)(A)(ii). (Joint Stip. for Dismissal, ECF No.
  65.) The Court reserves jurisdiction to enforce the parties’ settlement
  agreement. See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272, 1280
  (11th Cir. 2012). The Court directs the Clerk to close this case. All pending
  motions, if any, are denied as moot.
        Done and ordered in Miami, Florida, on June 23, 2023.


                                               ________________________________
                                               Robert N. Scola, Jr.
                                               United States District Judge
